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              IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                        HAMMOND DIVISION

LANCE FOSTER,                                )
                                             )
Petitioner,                                  )
                                             )
vs.                                          )            No. 2:09-CV-415
                                             )                (2:04-CR-80)
UNITED STATES OF AMERICA,                    )
                                             )
Respondent.                                  )


                             OPINION AND ORDER
      This matter is before the Court on the Motion Under 28 USC §

2255 to Vacate, Set Aside, or Correct Sentence by a Person in

Federal Custody, filed by Petitioner on December 14, 2009. For the

reasons set forth below, the motion is DENIED.



BACKGROUND

      In 2004, Lance Foster (“Foster”) was indicted as part of a

multi-defendant    drug      conspiracy.         The   superceding       indictment

charged Foster with conspiracy to possess with intent to distribute

crack cocaine, cocaine and marijuana (Count 2), and distribution of

cocaine base (Count 7).

      On February 22, 2005, a Plea Agreement was filed with the

Court indicating that Foster would plead guilty to Count 2 of the

superceding indictment (the conspiracy charge).                   The signed plea

agreement    indicated    that      Foster   understood      that    the     maximum

possible     penalty   for    the    offense     included     a    life    term    of
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imprisonment.     The plea agreement further provided that Foster

understood that the minimum possible penalty to be imposed included

a term of imprisonment of ten years.

     The change of plea hearing was scheduled, but the hearing was

continued on numerous occasions.           Ultimately, on April 27, 2005,

Foster indicated he wished to withdraw his plea agreement, and this

Court allowed Foster to withdraw his plea agreement.                   Another

change of plea hearing was scheduled for February 2, 2006, but

Foster again decided not to go forward with the change of plea

hearing.    Trial was scheduled for October 30, 2006.

     During this same period of time, Foster voiced many complaints

about his counsel, Attorney Visvaldis Kupsis (“Attorney Kupsis”).

On September 26, 2005, Foster filed a “Motion for Ineffective

Assistance of Counsel.”      (DE 219).      This Court held a hearing on

the matter and Foster advised the Court that he wished to have

Attorney Kupsis continue to represent him.         (DE 220).        In December

of 2005, Attorney Kupsis filed a motion for leave to withdraw as

Foster’s counsel, indicating that Foster had advised him he was

fired and that continuing representation appeared to be futile.

(DE 239).     This Court held a sealed hearing on this motion,

allowing Defendant to state his reasons why he wishes to discharge

Attorney Kupsis.     The Court found no reason to discharge Attorney

Kupsis.    (DE 255).    On February 17, 2006, Foster filed another

letter expressing his disappointment in Attorney Kupsis. (DE 275).


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This Court again held a hearing under seal to explore whether there

was cause to remove Attorney Kupsis.                  Attorney Kupsis and Foster

met privately, and then advised the Court that no additional

hearing was necessary.           (DE 274).

     On    October       20,    2006,   just    ten    days    before       trial,   the

Government filed an Information Regarding Prior Conviction Pursuant

to 21 U.S.C. section 851(a).                   The information relied upon a

December       14,    1999,    conviction      in   Lake   County,     Indiana,      for

possession of cocaine to seek increased punishment in the event of

Foster’s conviction. As a result, Foster’s sentencing range became

a minimum term of 20 years incarceration up to a maximum term of

life incarceration.            Foster proceeded with a jury trial, and was

convicted of distributing cocaine base (Count 7), but found not

guilty of the conspiracy charge (Count 2).

     Foster was sentenced to a 240 month term of incarceration, the

statutory mandatory minimum for his offense due to the Government’s

filing    of    the    section    851   information.          Because       Foster   was

convicted on only Count 7, his applicable guideline range under the

United States Sentencing Guidelines would have been 135-168 months

incarceration1 if the Government had not filed the 851 information.

Foster appealed his conviction, and the Seventh Circuit affirmed

the judgment against Foster. United States v. Tanner, 544 F.3d 793



     1
      This is based on a total offense level of 32 and a criminal
history category of II.

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(7th Cir. 2008).

     In March of 2009, Foster sought a reduction in his sentence

due to amendments in the United States Sentencing Guidelines

governing crack cocaine, pursuant to 18 U.S.C. section 3582.

Attorney Kupsis was reappointed to assist with this matter, but

after investigating Foster’s claimed entitlement to a reduced

sentence, sought leave to withdraw because he believed that the 20

year mandatory minimum sentence prevented a reduction in Foster’s

sentence.    Foster’s counsel was permitted to withdraw, and Foster

was given leave to file a pro se motion for modification of his

sentence, which he did not do.

     Foster then initiated this pro se action seeking to vacate his

sentence due to ineffective assistance of trial counsel.                     The

Government initially responded by claiming that Foster’s motion was

untimely.    Foster filed a reply brief on February 11, 2010.              This

Court found that Foster’s motion was timely, and ordered the

Government to provide a brief addressing the merits of Foster’s

claims.     The Government provided the requested brief on May 24,

2010.     Foster filed a reply brief on June 23, 2010.               In October

2010, after briefing was complete, Attorney Cheryl Sturm appeared

on behalf of Foster and was granted leave to file a supplemental

reply on Foster’s behalf.           The supplemental reply was filed on

November 12, 2010.

     On February 9, 2011, this Court issued an order taking the


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instant motion under advisement and setting this matter for hearing

on April 15, 2011.     That hearing was continued a number of times,

and ultimately occurred on June 22, 2011.          Following the hearing,

the parties requested an opportunity to obtain the transcript of

the hearing and further brief the issues.           Briefs were filed on

August 12, 2011, August 29, 2011, and September 8, 2011.                  This

matter is now ripe for adjudication.



DISCUSSION

     As described in this Court’s order dated February 9, 2011,

Foster claims that his counsel was ineffective in several ways.

             First, Foster claims that his attorney was
             ineffective in that he should have known that
             Foster could receive an enhanced sentence due
             to his prior juvenile drug conviction before
             trial began, and that counsel was ineffective
             in making no effort to secure evidence needed
             to argue that such an enhancement was
             unconstitutional.    Next, Foster argues that
             his counsel was ineffective in failing to seek
             and/or secure a plea agreement once the
             Government had provided notice of its intent
             to seek an enhanced sentence under 21 U.S.C.
             section 851.     Foster also claims that his
             counsel   was   ineffective   in  failing   to
             investigate Foster’s bad acts. Lastly, Foster
             claims his counsel was ineffective for failing
             to argue that his sentence over-represented
             his criminal history.

(DE 827 at 4-5).

     This Court has previously found that most of these claims lack

merit. (DE 827 at 12-14). However Foster’s claim that his counsel

was ineffective by failing to advise Foster that his mandatory

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minimum sentence could be enhanced from ten to twenty years due to

his prior juvenile drug conviction requires further analysis.



Habeas Corpus Relief

     The law governing habeas corpus relief has already been

discussed   at    length   in   this    Court’s    previous    order,         but   is

reiterated here. Habeas corpus relief under 28 U.S.C. section 2255

is reserved for “extraordinary situations.”                Prewitt v. Untied

States, 83 F.3d 812, 816 (7th Cir. 1996).             In order to proceed on

a habeas corpus petition pursuant to 28 U.S.C. section 2255, a

federal prisoner must show that the district court sentenced him in

violation of the Constitution or laws of the United States, or that

the sentence was in excess of the maximum authorized by law, or is

otherwise subject to collateral attack.            Id.

     As indicated in this Court’s previous order, in assessing

Petitioners’s motion, the Court is mindful of the well-settled

principle that, when interpreting a pro se petitioner’s complaint

or   section     2255   motion,     district      courts   have        a    “special

responsibility” to construe such pleadings liberally.                      Donald v.

Cook County Sheriff’s Dep’t., 95 F.3d 548, 555 (7th Cir. 1996);

Estelle v. Gamble, 429 U.S. 97, 106 (1976)(a “pro se complaint,

‘however inartfully pleaded’ must be held to ‘less stringent

standards than formal pleadings drafted by lawyers’”(quoting Haines

v. Kerner, 404 U.S. 519 (1972)); Brown v. Roe, 279 F.3d 742, 746


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(9th Cir. 2002)(“pro se habeas petitioners are to be afforded ‘the

benefit of any doubt’”)(quoting Bretz v. Kelman, 773 F.2d 1026,

1027 n.1 (9th Cir. 1985)).

        As   with   all    allegations         of   constitutionally          ineffective

assistance of counsel, the analysis must begin with the Supreme

Court's seminal case in this area, Strickland v. Washington, 466

U.S. 668 (1984).       The test for ineffectiveness claims is exacting.

To   establish      such    a    claim,    a     defendant    must    show      that    his

attorney's representation was deficient, and that the deficiency

prejudiced the defendant.             Wiggins v. Smith, 539 U.S. 510, 521

(2003).       To establish deficient performance, a defendant must

demonstrate that counsel's representation fell below an objective

standard of reasonableness.              Id.     This test is highly deferential

to counsel, "presuming reasonable judgment and declining to second

guess strategic choices."             United States v. Williams, 106 F.3d

1362,    1367   (7th      Cir.   1997)    (citations     omitted).            Thus, when

examining the performance prong of the Strickland test, a court

must "indulg[e] a strong presumption that counsel's conduct falls

within the wide range of reasonable assistance."                              Galowski v.

Berge, 78 F.3d 1176, 1180 (7th Cir. 1996)(internal quotes omitted).

Then, to establish the prejudice component of the Strickland test,

a defendant must show a reasonable probability that, but for

counsel's unprofessional errors, the result of the proceeding would

have been different.         Wiggins, 539 U.S. at 534.            Such a "reasonable


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probability" is "a probability sufficient to undermine confidence

in the outcome."      Id.

     When viewed in the context of counsel's failure to properly

advise     a    defendant   of   his     sentencing    exposure        and,   more

specifically, where an attorney’s alleged incompetence results in

rejection of a plea agreement, the Strickland framework applies as

follows.       With regards to the performance prong of Strickland, a

miscalculation of the possible sentence will not suffice; rather,

the petitioner “must show that counsel did not attempt to learn the

facts of the case and failed to make a good-faith estimate of a

likely sentence.”      VanWaeyenberghe v. United States, No. 3:08-CV-

456 RM; 3:04-CR-87(01)RM, 2009 WL 3294871 (Oct. 13, 2009 N.D.

Ind.)(citing United States v. Cieslowski, 410 F.3d 353, 358-59 (7th

Cir. 2005).

     With regards to the prejudice prong of Strickland, petitioner

must show “(1) through objective evidence that (2) there is a

reasonable probability that he would have accepted the alleged

proposed plea agreement absent defense counsel’s advice.” Paters v.

United States, 159 F.3d 1043, 1046 (7th Cir. 1998) (citing Toro v.

Fairman, 940 F.2d 1065 (7th Cir. 1991)).2              A petitioner’s sworn


     2
      In Paters, the Seventh Circuit Court of Appeals determined
that remand was necessary because the district court had utilized
the wrong standard in determining whether the petitioner had
demonstrated prejudice, and under the correct standard,
petitioner was entitled to a hearing. The district court held
the required hearing and then denied Paters’ petition. Following
the district court’s denial, the case was again appealed. The

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statement alone is not sufficient to satisfy the objective evidence

required by the prejudice prong of the Strickland test.                         See

Paters, 159 F.3d 1046; VanWaeyenberghe, 2009 WL 3294871 at *10.

        Where the Court finds that an attorney’s alleged deficiency

did not prejudice the defendant, it need not consider the first

prong of the Strickland test.          United States v. Fudge, 325 F.3d

910, 924 (7th Cir. 2003)(citing Matheney v. Anderson, 253 F.3d 1025,

1042 (7th Cir. 2001).



        Testimony at the hearing held on June 22, 2011

        At the June 22, 2011 hearing, both Attorney Kupsis and Foster

testified that Attorney Kupsis did not talk with Foster about the

possibility of a sentence enhancement pursuant to 21 U.S.C. section

851 until ten (10) days before trial, after the Government filed

its “Information Regarding Prior Conviction Pursuant to 21 U.S.C.

§ 851."

        Attorney Kupsis explained that throughout the proceedings his

focus was always on the maximum possible sentence, not the minimum.

Based    on   the   evidence   he   had,    Attorney    Kupsis     believed     the

Government’s case against Foster was very strong, that Foster was


Seventh Circuit, in an unpublished opinion, reiterated that to
show prejudice in a case such as this a defendant must show
through objective evidence that there was a reasonable
probability that he would have accepted the proposed plea
agreement in the absent of his counsel’s advice. See Paters v.
United States, No. 99-4123, 13 Fed. App. 392, 395 (7th Cir.
2001).

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likely to be convicted of the conspiracy charge as well as the

possession charge, and if convicted of the charged conspiracy, a

life sentence was likely.3          Avoiding a life sentence was Attorney

Kupsis’ primary aim, Attorney Kupsis was not particularly concerned

with the mandatory minimum sentence.          Because of his assessment of

the strength of the Government’s case, when Foster expressed an

interest in withdrawing from the plea agreement, Attorney Kupsis

claims he advised Foster that the plea agreement was in his best

interest.

      Foster, however, was more optimistic than his counsel about

the results of his trial and testified that he was concerned about

the mandatory minimum sentence.           Foster testified that if he had

been told about the possibility of the enhancement under section

851 he would not have tried to get out of the plea agreement he had

signed, or alternatively, he would have accepted the terms of a

plea agreement offered at a later time.4             Foster further testified


      3
      Attorney Kupsis testified that he was surprised by Foster’s
acquittal of the conspiracy, that it was viewed as a win for him,
and that he was proud of the result. It was perceived to be a
win by others as well: people congratulated Attorney Kupsis on
the result.
      4
      This later plea agreement, titled “Second Amended Plea
Agreement,” would have required a plea by way of information to
distributing a quantity of cocaine and would have capped his
possible sentence at 20 years. It is not clear whether the
agreement was actually shown to Foster, but Attorney Kupsis
testified that the terms of the offer were discussed with Foster
and Foster acknowledges that Attorney Kupsis asked him if he
would accept a plea agreement which would cap his sentence at 20
years. Foster rejected the terms of this plea agreement.

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that, with regards to his withdraw from the plea agreement he

signed, Attorney Kupsis did not give Foster his professional

opinion as to whether it was in Foster’s best interest to go to

trial or to stay with the plea agreement.

      Following his rejection of the second plea offer, Foster

insisted on proceeding to trial.            Attorney Kupsis testified as

follows    regarding   the   exchanges      between   himself       and   Foster

following Foster’s rejection of the second plea offer.

                 That was the last offer I received from
            the government as far as this case was
            concerned. And, quite honestly, we had a lot
            of heated discussions about that offer
            because, like I said, I kept saying, “You’re
            looking at going to jail for the rest of your
            life on this conspiracy charge,” and I
            honestly thought he was going to be found
            guilty of that. I didn’t think he had much of
            a chance based on the evidence that I saw. I
            did not foresee that he was going to be found
            not guilty of the conspiracy, nor did I ever
            bring that up as a real possibility to him.
            My opinion was if we went to trial, he was
            going to be found guilty of both Counts Two
            and Seven and he was going to be looking at a
            life sentence.    That was what our argument
            was. That was what our discussion was.
                 Did I tell him that, hey, they were going
            to come in and file an 851 enhancement and
            you’re looking at 20 years anyway? No, I
            didn’t.   Should I have?     Maybe.   But the
            bottom line was my thing was you’re going to
            go to jail for the rest of your life. He said
            he didn’t care, and at that point he said,
            “I’m going to trial.” Did that make sense?
            No. Did we have a lot of heated discussions
            about that? Yes. But the bottom line is at
            the end of this case, for some reason, and




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            quite frankly, I believe because Duke Tanner
            got in his head, he said, “I’m going to
            trial.” I disagreed with that vehemently. I
            kept telling him he was going to get a life
            sentence, and those were our discussions. He
            rejected the plea because he didn’t want to
            stipulate to the weight, and he didn’t want to
            stipulation to the gun.

(Tr. at 24-25).        At one point, when discussing the risk of

proceeding to trial, Foster told Attorney Kupsis that “20 years is

life.”    (Tr. at 54).

      Attorney Kupsis testified that even after the 851 enhancement

was explained to Foster, he expressed no interest in pleading

guilty.    The following exchange occurred between AUSA Nozick and

Attorney Kupsis at the hearing on June 22, 2011:

            Q. Okay. Now, on October 20, 2006, I filed a
            notice of enhancement under 851 which would
            double the minimum mandatory penalties,
            correct?

            A. That’s correct.

            Q. Okay. And did you convey that to him after
            I filed it?

            A. We talked about it that day.

            Q. Okay.     And did he appear to understand?

            A. He understood it. He wasn’t happy about
            it, but he understood it.

            Q. Okay. And at that point in time, did he
            say, Hey, wait a minute, you didn’t tell me
            that could happen?

            A. We didn’t have that conversation. We did
            have a conversation about my re-approaching
            the government and trying to see if I could
            still salvage a plea agreement to at least the

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            20 because, again, my argument at that point
            in time was the best we could do is 20 because
            I can’t see how you beat the possession charge
            based on the evidence I’ve seen.

            Q. Okay.     Now, when you say you had a
            conversation about it, you discussed coming
            back to me and asking if he could still take
            the plea agreement? That was your idea?

            A. Well, yeah, that was my idea. I asked him
            do you want me to broach this because I still
            think - - my thought was you’d probably rather
            get him out of the way and concentrate on one
            defendant. That was my thought. And that’s
            why I thought I could probably still sell it.
            We were looking at 20 years.

            * * *

            Q. Okay. At any point after telling Mr. Foster
            about the enhancement, did he tell you, Go
            back to AUSA, David Nozick, myself, and see if
            he could still take the plea?

            A. No, he didn’t say that. At that point in
            time, he just kept insisting that he was going
            to go to trial.

            * * *

            Q. Did he ever - - my question is, did he ever
            ask you, come back, I want to take that plea,
            come back and see if David Nozick will still
            let me take the plea after the deadline he
            gave?

            A. No, he never -- no.

            Q. Is it fair –

            A. From that ten-day period forward, he gave
            no indication whatsoever that he wanted to
            plea. I know that I spoke to him about that
            possibility, and I know I said I think I could
            probably still make this work. He just said
            no, he didn’t want to do it.      And at that
            point in time, he sort of resigned – - I want

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            to say “resigned” because I think that’s kind
            of the emotion that he had, that he was going
            to go to trial.

(Tr. 48-52).

      Foster, on the other hand, testified that Attorney Kupsis

never adequately explained an 851 information, even after it was

filed.

                 My testimony today is Mr. Kupsis did not
            give me a full understanding as to how an 851
            worked at no point in time. He had knowledge
            of an 851 after it was being filed, but he
            didn’t sit me down and fully inform me how it
            would work and how it would affect my sentence
            if I went to trial versus me taking a plea,
            no, he did not.

(Tr. at 77).



      Attorney Kupsis’ testimony is more credible than Foster’s
      testimony.

      Because Attorney Kupsis’ testimony and Foster’s testimony are

inconsistent with one another in several respects, this Court must

carefully consider the credibility of the witnesses.                Credibility

determinations should be based on all relevant circumstances.                See

Cullen v. USA, 194 F.3d 401, 407-409 (2nd Cir. 1999).                  Foster’s

attorney has correctly noted that Foster’s testimony should not be

rejected solely because it is self-serving, and that Attorney

Kupsis’ testimony should not be believed over Foster’s simply

because he is an attorney.          However, it is also true that this

Court is not required to wholly disregard these considerations:


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they are part of the relevant circumstances.

      In addition to being an officer of this Court, Attorney Kupsis

testified against his own interest.                Attorney Kupsis did not

contest Foster’s claim that he failed to advise Foster of the

possibility of an 851 enhancement.          Attorney Kupsis even conceded

it was probably a mistake. Attorney Kupsis provided this testimony

knowing    that   it   could   possibly     lead   to     a   finding     that   his

performance was deficient.

      Foster, on the other hand, testified in a manner that is self-

serving.    There is little to support Foster’s claim that he would

have pled guilty pursuant to a plea agreement but for Attorney

Kupsis’ error other than his own testimony.               Additionally, Foster

testified that when he was discussing withdrawing from the plea

agreement with Attorney Kupsis, Attorney Kupsis did not give Foster

his professional opinion as to whether it was in his best interests

to go to trial or to stay with the plea agreement.                 (Tr. 64).     The

Court questions the veracity of this answer, as Attorney Kupsis has

testified persuasively and in great detail to the contrary; it

appears to this Court that Foster’s honesty has yielded to his self

interest.

      This Court has considered the testimony of both Attorney

Kupsis and Foster as a whole.             After carefully observing both

Attorney Kupsis and Foster, and after reviewing the testimony and

the case as a whole, including this Court’s first-hand observations


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during the time leading up to Foster’s trial, this Court finds the

testimony of Attorney Kupsis more credible than that of Foster.

More specifically, this Court credits Attorney Kupsis’ testimony

over Foster’s testimony regarding the communication of the terms of

the   second   plea   agreement     and   discussions    that    followed    and

regarding what transpired upon the filing of the 851 information.



      Foster has not demonstrated prejudice as a result of his
      counsel’s allegedly deficient performance.

      Although Foster argues that Attorney Kupsis was ineffective,

there is some irony in this claim, as Attorney Kupsis’ performance

overall is reasonably viewed as highly effective; Foster was

acquitted of the more serious of the two counts he was charged

with, and Foster’s sentence was much less than Attorney Kupsis had

anticipated.    Nonetheless, Attorney Kupsis concedes that he failed

to advise his client of the possibility of an 851 information being

filed as well as the effect of such a filing in advance of the

information being filed.      This Court, however, need not determine

whether Attorney Kupsis’ conduct satisfies the performance prong of

the Strickland test, because Foster’s claim fails the prejudice

prong of Strickland.

      Foster must show, through objective evidence, that there is a

reasonable probability that he would not have withdrawn his plea

agreement or would have accepted the plea offer tendered later if

Attorney Kupsis had advised him of the possibility that the

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Government would file an information under section 851.                           Paters,

159 F.3d at 1046.

        Foster testified that if he had been advised that he was

facing a possible mandatory minimum sentence of twenty years, he

would have pled guilty.               Even where such testimony is deemed

credible, more is required to prevail on a claim of ineffective

assistance        of   counsel.        See      Paters,     159    F.3d      at    1046;

VanWaeyenberghe, 2009 WL 3294871 at *8.

        In granting Foster a hearing on this claim, this Court noted

that Foster nearly went through with a plea agreement and that

there    is   a    strong    suggestion      that,    if    Foster’s        allegations

regarding his counsel’s misadvice were true, he would have went

through with the plea agreement.                 However, when Foster had the

opportunity to prove that there was a reasonable probability that

he would have accepted a plea agreement absent Attorney Kupsis’

alleged error, he did not succeed.                   In this case, rather than

utilizing     the      hearing   on   this      matter    to   produce      additional

objective evidence that he would have accepted the plea, the

credible testimony at the hearing produced additional evidence to

the contrary.

        Foster’s claim that he would have pled guilty if he had known

of the enhancement is undercut by the credible testimony of

Attorney Kupsis.            Attorney Kupsis indicates he discussed the

possibility of pleading guilty after the enhancement was filed and


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after Attorney Kupsis had explained the effect of the enhancement

to Foster.    Attorney Kupsis testified to Foster’s determination to

go   to   trial,   both   before    and     after   Foster   learned     of   the

enhancement under section 851. Although Foster initially expressed

interest in pleading, and even signed a plea agreement and made a

proffer, he changed his mind.         Nobody knows exactly what caused

Foster to change his mind, but from that point in time, every

indication is that Foster was dead set against pleading guilty.

Attorney Kupsis testified that at one point Foster stated that “20

years is life,” which again suggests an unwillingness to accept any

plea agreement that was believed likely to yield a sentence of

nearly twenty years.5     The evidence against Foster was strong, and

Attorney Kupsis vigorously urged Foster to pled guilty.                   Foster

rejected that advice.       This testimony suggests Foster would not

have accepted the plea even in the absence of counsel’s alleged

error.

      The credible evidence before this Court shows that it was not

Attorney Kupsis’ error but Foster’s complete unwillingness to plead

guilty, even after being fully advised of the 851 information and

its effects, that accounts for Foster’s choice to go to trial.

Foster has failed to demonstrate through objective evidence that



      5
      Foster’s best offer under any plea agreement offered to him
would have resulted in a guideline calculation of 235 months
incarceration at the low end of the range, five months less than
the sentence Foster received.

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there is a reasonable probability that he would have accepted

either proposed plea agreement in the absence of defense counsel’s

alleged error.     For these reasons, the motion is DENIED.



CONCLUSION

      For the reasons set forth above, Petitioner’s Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence By A Person

in Federal Custody is DENIED.


DATED: February 14, 2012                    /S/RUDY LOZANO, Judge
                                            United States District Court




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